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                        IN THE UNITED STATES BANKRUPTCY COURT

                          FOR THE EASTERN DISTRICT OF LOUISIANA

 IN THE MATTER OF:                                                     NO. 19-10789

 WOMACK, CHRISTOPHER H                                                 SECTION B
 WOMACK, SUSAN G

 D E B T O R (S)                                                       CHAPTER 7


              TRUSTEE'S PETITION OF DISCLAIMER AND ABANDONMENT

                 TO THE HONORABLE, THE JUDGES IN BANKRUPTCY FOR SAID
DISTRICT:

               The petition of the undersigned Trustee of the estate of the above-named
Debtor(s), with respect represents:

                 On the grounds that there is no equity in the hereinafter described property for the
estate of the above named debtor(s) over and above such mortgage and/or other liens as may
affect the said property and such exemptions as may apply thereto, or that if there is any such
equity, it is not sufficient to justify administration.

               The undersigned Trustee (in his official capacity under Federal Law) as
representative of the estate of the Debtor(s), does by these presents, subject to the approval of this
Court (which approval is hereby prayed for), disclaim and abandon all such right, title and interest
of the said Debtor(s)'s estate in and to the following described property:

        !    Non-Exempt Household Goods and Furnishings, as being unworthy of administration;
        !    Real Estate bearing Municipal No. 511 Evergreen Drive, Mandeville, Louisiana, as being
             encumbered in excess of its value; and otherwise, as being subject to homestead exemption;
        !    2013 Ford F150, as being unworthy of administration;
        !    2012 Buick Enclave, as being unworthy of administration;
        !    2007 Kawasaki Jet ski, as being unworthy of administration;
        !    TVs and computers, as being unworthy of administration;
        !    Two (2) basic bicycles, as being unworthy of administration;
        !    Miscellaneous costume jewelry, as being unworthy of administration;
        !    Interest in CHW Restaurants, LLC, as being unworthy of administration; and otherwise, as being
             a burden to the estate to pursue; and
        !    Two (2) promissory notes vs. Raymond Naquin and Naquin Hospitality for purchase of restaurant
             equipment, $21,000.00 and $35,000.00, not being collected, as being unworthy of administration;
             and otherwise, as being a burden to the estate to pursue.


Date:       April 29, 2019                           S/Wilbur J. “Bill” Babin, Jr.
                                                 WILBUR J. "BILL" BABIN, JR., TRUSTEE
                                                 3027 Ridgelake Drive
                                                 Metairie, LA 70002
                                                 Telephone: 837-1230
